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     United States v. Mohamud Muse
              1:19-CR-25-3

                 Sentencing Exhibit 1
        Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2118 Filed 08/05/21 Page 2 of 45
                                            )DFHERRN%XVLQHVV5HFRUG          3DJH

       6HUYLFH   )DFHERRN
        7DUJHW   
    *HQHUDWHG      87&
   'DWH 5DQJH      87& WR   87&
       1&0(&
     &\EHUWLSV


         1DPH               )LUVW 0RKDPXG
                          0LGGOH $
                            /DVW 0XVD



    5HJLVWHUHG PRKDPXGPXVD#\DKRRFRP
         (PDLO
    $GGUHVVHV


  9DQLW\ 1DPH PRKDPXGPXVD


  5HJLVWUDWLRQ   87&
         'DWH


5HJLVWUDWLRQ ,S 


      $FFRXQW       $FFRXQW 6WLOO IDOVH
  &ORVXUH 'DWH            $FWLYH
                           7LPH   87&
                         5HDVRQ GLVDEOHG



      $GGUHVV            6WUHHW
                           &LW\
                          6WDWH
                            =LS
                        &RXQWU\



  &XUUHQW &LW\ /DQVLQJ 0LFKLJDQ 


       3KRQH  &HOO 9HULILHG
     1XPEHUV  &HOO 8QYHULILHG


  &UHGLW &DUGV


       3D\3DO
     $FFRXQWV


  ,S $GGUHVVHV        ,3 $GGUHVV IEIEFIEEGHF
                           7LPH   87&
                                                                              GOVERNMENT
                                                                                EXHIBIT

                                                          1                   Sent. Ex. 1
                                                                             1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2119 Filed 08/05/21 Page 3 of 45
                                )DFHERRN%XVLQHVV5HFRUG                                3DJH

            0RELOH
                     IDOVH




          3KRWR ,G 

            3RVWHG   87&
            6WDWXV $QG WKH +RUQ ZLOO EH EORZQ DQG ZKRHYHU LV LQ WKH KHDYHQV DQG ZKRHYHU LV RQ WKH
                   HDUWK ZLOO IDOO GHDG H[FHSW ZKRP $OODK ZLOOV 7KHQ LW ZLOO EH EORZQ DJDLQ DQG DW RQFH
                   WKH\ ZLOO EH VWDQGLQJ ORRNLQJ RQ ^4XU ÃQ `
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH

            3RVWHG   87&


                                               2
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2120 Filed 08/05/21 Page 4 of 45
                                     )DFHERRN%XVLQHVV5HFRUG                                          3DJH

                   WKDW WKRVH ZKR UHYLYHG WKLV GXW\ ZLOO JHW EHOLWWOHG E\ WKRVH ZKR GR QRWKLQJ IRU WKLV 'íQ
                   UHVW DVVXUHG WKDW WKLV PRQXPHQWDO HYHQW ZLOO GLVWLQJXLVK WKH EHOLHYHUV IURP WKH
                   K\SRFULWHV ૲ ,PDP $QZÃU DO$ZODNL ᓎᓄᓃᑱ ᓎᓈᒇᒑ
            0RELOH IDOVH
         &RPPHQWV              8VHU <HNLQL 7DRKHHG 
                                7H[W /HDUQ KRZ WR OLYH ZLWK RWKHUV ZKDW X SHRSOH DUH ORRNLQ IRU ZLO
                                      DOZD\V FDXVH YLROHQFH
                               7LPH   87&


             3RVWHG   87&
             6WDWXV ,1 6+$$ $//$+
             0RELOH IDOVH




          3KRWR ,G 

             3RVWHG   87&
             6WDWXV 5HOLDQFH XSRQ $OODK GXULQJ DGYHUVLWLHV LV WKH JUHDWHVW PHDQV RI DVVLVWDQFH LQ FRSLQJ
                    ZLWK WKHP 7KH JUHDWHVW ZRUGV RI UHOLDQFH DUH ^ ૻ ^ շᓂᓘոᒿնᓒպᓃᑱ նᓆպᒰոᓋնᓑ շᓎչᓄᓃᑱ ᑲնᓌշᑶպᒘնᒇ6XIILFLHQW IRU XV
                    LV $OODK DQG +H LV WKH EHVW 'LVSRVHU RI DIIDLUVૻ >ÂO ʁ,PUÃQ @ ᓖᒷ ᑱ ᓔᓄᒯ ᓂᒿᓒᑼᓃᑱ
                    $O $]L] $EGXO 6KDLNK૲ ᓖᒿᓒᓃᑱ ᓆᒰᓋᓑ ᑱ ᑲᓌᑶᒘᒇ ᓂᒿᓒᑼᓃᑱ ᒩᑲᒸᓃᑧ ᓆᒬᒯᑧᓑ Պᑲᓐᓘᓄᒯ ᓊᓘᒰᓇ ᓆᒬᒯᑧ ᒎᑯᑱᒎᒜᓃᑱ
                    7DUHIH
             0RELOH IDOVH

             3RVWHG   87&
             6WDWXV
             0RELOH IDOVH



                                                       3
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                           )DFHERRN%XVLQHVV5HFRUG               3DJH




                                      4
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2122 Filed 08/05/21 Page 6 of 45
                               )DFHERRN%XVLQHVV5HFRUG                               3DJH

          3KRWR ,G
                      

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH




          3KRWR ,G 

            3RVWHG   87&
            6WDWXV $QG :H LQVSLUHG WR 0RVHV DQG KLV EURWKHU 6HWWOH \RXU SHRSOH LQ (J\SW LQ KRXVHV DQG
                   PDNH \RXU KRXVHV >IDFLQJ WKH@ TLEODK DQG HVWDEOLVK SUD\HU DQG JLYH JRRG WLGLQJV WR
                   WKH EHOLHYHUV $QG 0RVHV VDLG 2XU /RUG LQGHHG <RX KDYH JLYHQ 3KDUDRK DQG KLV
                   HVWDEOLVKPHQW VSOHQGRU DQG ZHDOWK LQ WKH ZRUOGO\ OLIH RXU /RUG WKDW WKH\ PD\ OHDG
                   >PHQ@ DVWUD\ IURP <RXU ZD\ 2XU /RUG REOLWHUDWH WKHLU ZHDOWK DQG KDUGHQ WKHLU KHDUWV
                   VR WKDW WKH\ ZLOO QRW EHOLHYH XQWLO WKH\ VHH WKH SDLQIXO SXQLVKPHQW ^6XUDW <ĭQXV
                   `
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV 7KDW LV IURP ZKDW \RXU /RUG KDV UHYHDOHG WR \RX >2 0XKDPPDG@ RI ZLVGRP $QG >2


                                              5
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2123 Filed 08/05/21 Page 7 of 45
                                )DFHERRN%XVLQHVV5HFRUG                                3DJH

          3KRWR ,G
                      

            3RVWHG   87&
            6WDWXV $QG IRU WKRVH ZKR GLVEHOLHYH LQ WKHLU /RUG $OODK LV WKH WRUPHQW RI +HOO DQG ZRUVW
                   LQGHHG LV WKDW GHVWLQDWLRQ :KHQ WKH\ DUH FDVW WKHUHLQ WKH\ ZLOO KHDU WKH WHUULEOH
                   GUDZLQJ LQ RI LWV EUHDWK DV LW EOD]HV IRUWK ^6XUDW $O0XON `
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH




          3KRWR ,G 

            3RVWHG   87&
            6WDWXV 7KH .H\ WR 3DUDGLVH >7KH  &RQGLWLRQV RI 6KDKDGD@  .QRZOHGJH $O,OP ૺ6R NQRZ
                   WKDW /DD LODDKD LOO$OODK QRQH KDV WKH ULJKW WR EH ZRUVKLSSHG EXW
                   $OODK ଄ૻ 0XKDPPDG  7KLV YHUVH LV D GHFLVLYH UHTXHVW WR KDYH NQRZOHGJH
                   DERXW $OODK VZW  2QH FDQ QRW EHOLHYH LQ $OODK LI KH GRHV QRW NQRZ ZKDW KHVKH VKRXOG
                   EHOLHYH LQ :H DUH REOLJHG WR VWXG\ OHDUQ DQG NQRZ DERXW $OODK VZW  +LV QDPHV DQG
                   DWWULEXWHV KRZ KH KDV GHVFULEHG KLPVHOI ZLWK LQ WKH +RO\ 4XUDQ+DGLWK ZKDW KH
                   FRPPDQGV RI XVIRUELGV  &HUWDLQW\ $O<DTHHQ .QRZOHGJH LV QRW HQRXJK DV PDQ\
                   NXIDDU GLVEHOLHYHUV NQRZ DERXW $OODK %XW ZKDW LV DOVR QHHGHG LV WR KDYH FHUWDLQW\
                   ZLWKRXW DQ\ GRXEWV RU FRQMHFWXUH $Q\ NLQG RI GRXEW ZLOO OHDG WR .XIU GLVEHOLHI  :H
                   PXVW LQ RXU KHDUWV EH DEVROXWHO\ FHUWDLQ RI WKH WUXWK RI WKH VKDKDGDK $V $OODK VD\V
                   ૺ2QO\ WKRVH DUH WKH EHOLHYHUV ZKR KDYH EHOLHYHG LQ $OODK DQG +LV 0HVVHQJHU DQG
                   DIWHUZDUG GRXEW QRW EXW VWULYH ZLWK WKHLU ZHDOWK DQG WKHLU OLYHV IRU WKH FDXVH RI
                   $OODKૻ +XMDUDDW  7KH 0HVVHQJHU 0XKDPPDG VDZ DOVR VDLG :KRHYHU
                   WHVWLILHV WKDW WKHUH LV QR JRG ZRUWK\ RI ZRUVKLS DQG REHGLHQFH EXW $OODK DQG WKDW , DP
                   WKH 0HVVHQJHU RI $OODK ZLWKRXW DQ\ GRXEW KH ZLOO HQWHU -DQQDK 6DKHHK 0XVOLP


                                               6
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                               )DFHERRN%XVLQHVV5HFRUG                             3DJH

             6WDWXV

            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV C8PDU ELQ $O.KDWWDE 0D\ $OODK EH SOHDVHG ZLWK KLP UHSRUWHG 7KH 3URSKHW 3%8+
                   VDLG 9HULO\ $OODK HOHYDWHV VRPH SHRSOH ZLWK WKLV 4XU DQ DQG DEDVHV RWKHUV
                   >0XVOLP@
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV 6R OHDYH 0H >2 0XKDPPDG@ ZLWK >WKH PDWWHU RI@ ZKRHYHU GHQLHV WKH 4XU DQ :H ZLOO
                   SURJUHVVLYHO\ OHDG WKHP >WR SXQLVKPHQW@ IURP ZKHUH WKH\ GR QRW NQRZ $QG , ZLOO
                   JLYH WKHP WLPH ,QGHHG 0\ SODQ LV ILUP ^6XUDW $O4DODP `
            0RELOH IDOVH

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH




          3KRWR ,G 

            3RVWHG   87&
            6WDWXV
            0RELOH IDOVH


                                             7
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2125 Filed 08/05/21 Page 9 of 45




     United States v. Mohamud Muse
              1:19-CR-25-3

                 Sentencing Exhibit 2
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2126 Filed 08/05/21 Page 10 of 45
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                                          'XUDWLRQ
                                                     

                           $XWKRU 0XVH0XVH 
                             6HQW 87&
                            %RG\ %URZKHUHXDW

                            $XWKRU 0RKDPXG$0XVD 
                              6HQW 87&
                       &DOO5HFRUG            7\SH SKRQH
                                            0LVVHG IDOVH
                                          'XUDWLRQ 

                           $XWKRU 0XVH0XVH 
                             6HQW 87&
                            %RG\ 2QP\ZD\GRZQ

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ +H\VRQ

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ :DVVXSZLWK'DZQD

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ 'RZOD

                           $XWKRU 0XVH0XVH 
                             6HQW 87&
                            %RG\ ,GRQWNQRZVRQQRQRIWKHSURGRZODKSDJHVDUHVKRZLQJDQ\WKLQJ
                                  WKDWFDQLQIRUPRIDQ\WKLQJQHZ

                           $XWKRU 0XVH0XVH 
                             6HQW 87&
                            %RG\ ,GRQWWUXVWJRRJOH

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ /RO

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ 7KH\WRRNPHDOOGRZQ

                           $XWKRU 0XVH0XVH 
                             6HQW 87&
                            %RG\ <RX

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ :RXOGXPHDQ

                           $XWKRU 0XVH0XVH 
                             6HQW 87&
                            %RG\ <RXUIDFHERRNSDJHV

                           $XWKRU 0RKDPXG$0XVD                         GOVERNMENT
                                                                                           EXHIBIT

                                                                                        Sent. Ex. 2
                                                                                       1:19-CR-00025-3-RJJ
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                            6HQW
                                87&
                           %RG\ 1R,MXVWGHDFWLYDWHG

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ , PVD\GLGWKHNXIIDUWDNHWKHSDJHVGRZQ

                          $XWKRU 0XVH0XVH 
                            6HQW 87&
                           %RG\ ,PQRWVHHLQJWKHPHYHU\WLPHLVHDUFKIRUWKHP

                          $XWKRU 0XVH0XVH 
                            6HQW 87&
                           %RG\ %XWLKDYHQRWIRUJHWWHQWKHVWDWH

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 1R,WKLQNXGLG

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 8EDUHO\HYHQWDONERXWGRZODQRPRUHDNK

                          $XWKRU 0XVH0XVH 
                            6HQW 87&
                           %RG\ 1RZQRZOHWVVWDUWWKDW

                          $XWKRU 0XVH0XVH 
                            6HQW 87&
                           %RG\ ,SHUVRQDOO\QHYHUWKRXJKWWKDWWKHUHFRPHDGD\ WKHVHGD\V
                                 ZKHUHXVKRZVROLWWOHFRQFHUQDERXWWKHVWDWH$QG\RXUDVNLQJPH
                                 DQ\WKLQJQHZRQGDZODKZKHQLXVHGWREHWKHSHUVRQDVNLQJ\RX
                                 WKDWTXHVWLRQ,ZRXOGUHFRQVLGHUWKDWVWDWHPHQWEURWKHU

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ /RO

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ +DKD

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 'RXNQRZ0DULDPR0XVD

                          $XWKRU 0XVH0XVH 
                            6HQW 87&
                           %RG\ , YHSUREDEO\VHHQKHUZK\

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 'RXKDYHDQ\FODVVHVZLWKKHU

                          $XWKRU 0XVH0XVH 
                            6HQW 87&
                           %RG\ 1REXWVKHNQRZVZKRLDP
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2128 Filed 08/05/21 Page 12 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                  Sentencing Exhibit 3
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                           $XWKRU
                                 0RKDPXG$0XVD 
                            6HQW 87&
                            %RG\ :HZHQRWJRLQJLQXUKRXVH

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ :HMXVWJRLQJWRP\FDU

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ LLJKW

                            $XWKRU 0RKDPXG$0XVD 
                              6HQW 87&
                       &DOO5HFRUG            7\SH SKRQH
                                            0LVVHG IDOVH
                                          'XUDWLRQ 

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ 'XGH,QHHGPRUHRI'DZODWXO,VODPYHGLRV

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ 3HRSOHVKRXOGEHPRUHIHDUIXORIWKH5DEXO$ODPHHQSXQLVKPHQWLQ
                                  WKHKHDUDIWHU

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ 'XGH,OLNHKRZ,6KRZWKH\EXUQWKRVHJX\VPDQLWORRNHGOLNH
                                  WKH\DUHLQ1DUUXQ'XQQL\DEXWKHUHDIWHU6DHHUUZRUVWSXQLVKPHQW
                                  ENXV$OODKFDQSXQLVKEHWWHUWKHQKXPDQ+HVDLGKHLVPXUFLIXO
                                  DQG+LVWKHZRUVWLQSXQLVKPHQW,ORYHLWPDQ

                           $XWKRU   0RKDPXG$0XVD 
                             6HQW   87&
                               ,3   
                            %RG\    
                     $WWDFKPHQWV    VWLFNHU 
                                                7\SH LPDJHSQJ
                                                 6L]H 
                                                 85/ KWWSVDWWDFKPHQWIEVE[FRPPHVVDJLQJBDWWDFK
                                                      PHQWSKS"DLG  PLG PLG
                                                      $F XLG 
                                                       DFFLG  SUHYLHZ 
                                                        KDVK $4%Z,DMMHM26E]7BU(*$4<BJ/<D
                                                      3I)5,ZGLZ
                                                    




                                                            3KRWR,G 

                                                                                          GOVERNMENT
                                                                                            EXHIBIT

                                                                                          Sent. Ex. 3
                                                                                         1:19-CR-00025-3-RJJ
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                          $XWKRU
                                 0RKDPXG$0XVD 
                            6HQW 87&
                            %RG\ .D]DOLNDOD]DDEZDODD]DEXODNKLWHH$NEDU

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ /RZH.DQX\DPDORRQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ LLJKW

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ +DKDKHEXWWKDWJX\ZKRZDVWKUHDWHQKHSXWSXWIXHORQ7KDW
                                 GXGHZKLOHKLVEXUQLQJWKDWZDVIXQQ\GXGH

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 'XGH, PUHDG\IRU'DZOD

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 7KRVHEURWKHUDWHQRWSOD\LQJPDQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ +RZFDQ,KDWHWKHP,ORYHWKHP,IRXQGRXWWKRVHDUHWKHUHDOPDQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ :KR$OODKKDVGLVFULEHGWKUPLQDOOERRNV$OODKLVHLWKXV0XVOLPV
                                 ZKRDUHKDUVKDQGKDUGWRWKH4XIIDUU0XUGWDG/RRNDWWKLVLQ
                                 6XUDK0RKDPHG

                           $XWKRU   ,EUDKLP0RKDPHG6DODW 
                             6HQW   87&
                            %RG\    
                     $WWDFKPHQWV    LPDJH 
                                               7\SH LPDJHMSHJ
                                                85/ KWWSVDWWDFKPHQWIEVE[FRPPHVVDJLQJBDWWDFK
                                                     PHQWSKS"DLG  PLG PLG
                                                     $E XLG 
                                                      DFFLG  SUHYLHZ 
                                                       KDVK $4%
                                                     V(-2H4)[OD(;W;V1)RBTHGXOEJJIKILTPT6
                                                     J
                                                   
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                                                             3KRWR,G
                                                                         




                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ 7KHPHVVHQJHUWKHRQFHZLWKKLPDUH+DUGDJDLQWKHWKH
                                  GLVEHOLHYHUVQRPXUF\GXGH

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ 7KDW VWKHGLVFULSWLRQIURP$OODKVKRZLQJPHDVLJQQGRWKHUVLW VLQ
                                  DOOERRNV7RUDKLQMHHODQG4XUDQVRR

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ 1RPHUF\ZLWKNXIIDU

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ 0HUF\LVIRUEHOLHYHUVRQO\

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ 6RPHERG\QHHGVWRWHOOWKDWNDIILUPXUWDGG\DVLUTDGKLWKDW

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ +DKDPDQ, OOSXWKLPLQD*DORWLQ

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ &XWKLVQHHFNRIKLVD.KDZDULMHPXUWDG

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ ,Q6KDD$OODKZKHQWKHNKLODIDKWDNHVRYHU<DGLUDTGKLZLOOEHRQ
                                  JLORWLQ

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ 0DQLQVK$OODKEHSDWLHQWDEXKLPZDWFKRQHGD\LQVK$OODKZDOODKL
                                  EHLWKHQLOODK

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ ,QVKDD$OODK

                            $XWKRU 0RKDPXG$0XVD 
                              6HQW 87&
                       &DOO5HFRUG            7\SH SKRQH
                                            0LVVHG WUXH
                                          'XUDWLRQ 

                           $XWKRU 0RKDPXG$0XVD 
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               1:19-CR-25-3

                  Sentencing Exhibit 4
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                          $XWKRU
                                 0RKDPXG$0XVD 
                            6HQW 87&
                            %RG\ :KDWWLWOH

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 0XKDPPDGXUU5DVXUXOODKZDODWKLQDPDKXX$VKLGDD2RDODONXIDUU
                                 5XKDPDDEDLQDKXP

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,IXMRLQ'DZODKDQGILJKWMLKDG

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ /RO

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ ,QVK$OODK

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 5LJKWQRZXMXVWDWKRPHHDWLQJDQGDFWLQOLNH<DGLUDZDVKLQJ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 1GVWRSXVLQJWKDWGHYLOLVKZRUG

                           $XWKRU   ,EUDKLP0RKDPHG6DODW 
                             6HQW   87&
                            %RG\    
                     $WWDFKPHQWV    DXGLRFOLSDDF 
                                                7\SH DXGLRDDF
                                                 6L]H 
                                                 85/ KWWSVDWWDFKPHQWIEVE[FRPPHVVDJLQJBDWWDFK
                                                      PHQWSKS"DLG  PLG PLG
                                                      $DEF XLG 
                                                       DFFLG  SUHYLHZ 
                                                       KDVK $4&O[RHI<8ZO/YM0SJME%BYN;5HZJ
                                                      Z[BRE6V+<8*J


                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 8DOUHDG\WROGPHWKDWGXGH

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 7KLVPRUQLQJ"""

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ ,NQRZEXW,ZDQWLWZKHQ\RXJRRQ\RXUEUHDNSOHDVH""

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,I,FDQ                                                  GOVERNMENT
                                                                                            EXHIBIT

                                                                                          Sent. Ex. 4
                                                                                       1:19-CR-00025-3-RJJ
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                  Sentencing Exhibit 5
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                           $XWKRU
                                  0RKDPXG$0XVD 
                             6HQW 87&
                             %RG\ 1RWPXFKPDQ

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ $VDODPX$O\NXP

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ , P*XGEURWKHU

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ :DOD\NXPVDODP

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ $Q\WKLQJQHZRQGDZODK

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ ,KHDUQHZYHGLRV

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&
                            %RG\ $UHFRPLQJ

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ )URPZKHUH

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ +RZXNQRZQHZYLGHRVUFRPLQJ

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ +H\FDQXVHQGWKHDGUHVV

                            $XWKRU ,EUDKLP0RKDPHG6DODW 
                              6HQW 87&
                        5HFLSLHQWV ,EUDKLP0RKDPHG6DODW 
                                   0RKDPXG$0XVD 
                       &DOO5HFRUG            7\SH SKRQH
                                            0LVVHG WUXH
                                          'XUDWLRQ 

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ 'XGHZKHUHDUHXDW

                           $XWKRU 0RKDPXG$0XVD 
                             6HQW 87&
                            %RG\ , PDWXUPRPVKRXVH

                           $XWKRU ,EUDKLP0RKDPHG6DODW 
                             6HQW 87&                          GOVERNMENT
                                                                                     EXHIBIT

                                                                                   Sent. Ex. 5
                                                                                  1:19-CR-00025-3-RJJ
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                            %RG\
                                    'XGHZKHUHGLGXJR

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ , PFRPPLQJ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ +DKD

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 'XGHWDNLQJIRUHYHUPDQ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 5XVXUHXUQRWKDYLQJWZLQV

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ +DKDKKH

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ $VDODPX$O\NXP

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ $Q\QHZVZLWK'RZOD

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ %ULQJPHQHZYLGHRVPDQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ )RUHDO

                           $XWKRU   0RKDPXG$0XVD 
                             6HQW   87&
                               ,3   
                            %RG\    
                     $WWDFKPHQWV    LPDJH 
                                               7\SH LPDJHMSHJ
                                                85/ KWWSVDWWDFKPHQWIEVE[FRPPHVVDJLQJBDWWDFK
                                                     PHQWSKS"DLG  PLG PLG
                                                     $EFIFH XLG 
                                                      DFFLG  SUHYLHZ 
                                                      KDVK $4$)HS
                                                     (1-,LG9/6X3L4]]*\QYS\LX9V('I:5LEJ
                                                   
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2138 Filed 08/05/21 Page 22 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                  Sentencing Exhibit 6
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                           %RG\
                                  $QGKLVHYLOKHDUW

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 0HVVLQJDURXQGZLWKWKHPQXQVWKHQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ <HDKKRQO\6DXGL$PHULFDDFFHSWWKHNXIIDUU

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 3UHWHQGLQJOLNHKLVSUD\LQJ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ +HOO\HDK

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 1RW'RZOD

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 7KHVHNXIIDUDQGPXQDIHHTXQPDQ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ +HOOQR

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 7KH\ OOSXWWKDW1LJJDRQWKHJRORWLQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ +HZLOOEHWKH4XUEDQHH\IRU'RZOD

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ +DKDKD

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 7KHELJ&RZIRU'RZOD
                                                                                      GOVERNMENT
                                                                                        EXHIBIT

                                                                                      Sent. Ex. 6
                                                                                     1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2140 Filed 08/05/21 Page 24 of 45
                           Facebook Business Record                              Page 18220

                          $XWKRU
                                ,EUDKLP0RKDPHG6DODW 
                           6HQW 87&
                           %RG\

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ ,WKLQNWKH\PLJKWGURZQKLPLIWKH\FDWFKKLP

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,WKLQNWKH\VODXJKWHUKLVDVV

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ <HDKKWKH\JRLQJORYHKLPDVDELJ&RZDVV*XUEDQHH\

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ :DVXS

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ $VVVDODPXDOD\NXP

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ :DOD\NXP6DODPEURZDVJRLQJRQQ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 0JRVLDUHXKRPH

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 1RR

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ , PDWWKHEHFRQ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 2ND\

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ &RPKHUH

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ , PKXQJU\PDQ, PJRLQJKRPHWRHDW

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 2ND\

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2141 Filed 08/05/21 Page 25 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                  Sentencing Exhibit 7
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2142 Filed 08/05/21 Page 26 of 45
                           Facebook Business Record                               Page 7804

                            %RG\
                                   :DO\DWDODWDII

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 0LGGOH

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 7KDW VZDVVXS

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ :KDW6XUDKZHRQEUR

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ <HDJK,JRWWDUXQPRUH

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ .KDI

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 9

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ $OKDPGXOLOODK

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 7KDW VZDVVXSEUR

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ <HDKKZDVXSZLWK'RZOD

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ 'RZODWXO,VODP

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,NQRZDQ\WKLQJQHZEUR

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ %XW,PDVSHDNRWKHUDPXMDKLGVRRQ

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&
                           %RG\ $OULJKW,QVK$OODK,SUD\$OODKJLYHVWKH0XMDKLGHHQWKHYLFWRU\
                                 ,QVK$OODKDOZD\VYLFWRU\\D$OODKDQGZHDUHQH[WWRVWHSXSRQWKH
                                 EDWWOHILOHG,QVK$OODKEHWKHQLOODKLWDDOD

                          $XWKRU ,EUDKLP0RKDPHG6DODW 
                            6HQW 87&                                   GOVERNMENT
                                                                                             EXHIBIT

                                                                                          Sent. Ex. 7
                                                                                         1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2143 Filed 08/05/21 Page 27 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                  Sentencing Exhibit 8
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2144 Filed 08/05/21 Page 28 of 45
                           Facebook Business Record                               Page 10113

                          $XWKRU
                                 0RKDPXG$0XVD 
                            6HQW 87&
                            %RG\ :KHUHDNKL

                          $XWKRU
                            6HQW 87&
                           %RG\ WKLVQXWMREZHQWDQGVWDUWLQJVKRRWLQJVRPHUHSXEOLFDQVLWKLQN

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ QRWVXUHZKHUHWKRXJK

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ $OKDPGXOLOODK

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ :KDWFRXQWU\DNKL

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 86$

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ \HV

                          $XWKRU
                            6HQW 87&
                           %RG\ LWKLQN$//$+D]]DZDMDOOOZLOOGHVWUR\LWVORZO\IRUZKDWWKH\GLG
                                 WRWKH0XVOLPVLQVKDPDQG,UDT

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,QVKDD$OODKZDEL]QLOODK

                          $XWKRU
                            6HQW 87&
                           %RG\ DPHQ

                          $XWKRU
                            6HQW 87&
                           %RG\ DVVODPXDOD\NRPKRZLV\RXUUDPDGDQDNKL

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ $OKDPGXOLOODKDNKLKRZ VXUV

                          $XWKRU
                            6HQW 87&
                           %RG\ DOKDPGXOHOODKDNKL

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ VRZKHQDUH\RXJRLQJDNKLWRGDZODK, PWKLQNLQJEHIRUHWKHHQG
                                 RIWKLV\HDUEXW,KDYHWRGRDIHZWKLQJVDQGSUHSDUHILUVW,PDGHD
                                 IHZFDOOVDQG,QVKD DOODKLWZLOOKDSSHQLQVK DOODKWKH\ZLOOPDNHLW
                                                                                                   GOVERNMENT
                                                                                                     EXHIBIT

                                                                                                   Sent. Ex. 8
                                                                                                  1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2145 Filed 08/05/21 Page 29 of 45
                           Facebook Business Record                                Page 10114

                                   KDSSHQDVPDUULDJHILUVW

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ %URLPVWLOOWU\LQJEXWLIXFDQKHOSPHWKDWZRXOGHYHQEHWWHU

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,KDYHDEURWKHURIPLQHWU\LQJKHOSPHEXWLQHHGDOOWKHKHOSLFDQ
                                 JHW

                          $XWKRU
                            6HQW 87&
                           %RG\ ,QVKD DOODKDNKL,ZLOOKHOS\RX

                          $XWKRU
                            6HQW 87&
                           %RG\ EXWWKHFDOOVDUHYHU\SULYDWHDQGH,KDYHWRZDLWIRUWKHFDOOLFDQ W
                                 SUHGLFWWKHH[DFWWLPHWK\FDOOPHLVWD\HGXSDOOQLJKW\HVWHUGD\
                                 ZDLWLQJIRUW]NLDK

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ EXWLQVK DOODKWKH\FDOOWRQLJKWDQG,JHWWD]NLDKDQG,FDQEULQJXS
                                 WKDW,KDYHDQRWKHUDNKZLWKPHEXWWKH\KDYHWRGRWD]NLDKIRU
                                 \RX

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ :KDW VWD]NLDKDNKL

                          $XWKRU
                            6HQW       87&
                                 87&
                           %RG\ WD]NLDLVLKDYHWRV\JRRGWKLQJVDERXW\RXDQGVD\,WUXVW\RX

                          $XWKRU
                            6HQW 87&
                           %RG\ JLYHWKHPP\ZRUGWKDW,WUXVW\RXLQVKD OODK

                          $XWKRU
                            6HQW 87&
                           %RG\ WKH\KDYHDIHZTXHVWLRQVEHIRUHWKH\JLYHWD][NLDKPDLQWKLQJLV
                                 \RXKDYHWRNQRZ\RXUGHHQDNKL,ZLOOZDLWIRUWKHFDOOWRGD\DQG
                                 OHW\RXNQRZWKHTXHVWLRQVDQG\RXFDQILOOLWLQEXWIURPZKDWL
                                 NQRZWKH\ UHDERXWGHHQDQGWKH\ZDQWWRPDNHVXUH\RXDUHD
                                 UHDOPXVOLPDQG\RXPDNH\RXUVODWDQG\RXGRQ WPLVVLWDQG,
                                 WKLQNWKH\DOVRZDQWWRNQRZKRZ\RXDQEHQHILWWKHGDZODKOLNH
                                 IRUH[DPSOHZKDW\RXZDQWWRZRUNLQGDZODK"ZKDWVNLOOVDQG
                                 VXFKEHIRUHWKH\JLYHWD]NLDK

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ :KDWLILMXVWZDQWWROLYHWKHUHDNKL

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ \HVDNKL\RXFDQOLYHWKHUHEXW\RXKDYHWRKDYHWD]NLDVR\RXDUH
                                 SURWHFWHG
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2146 Filed 08/05/21 Page 30 of 45
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                          $XWKRU

                            6HQW 87&
                            %RG\ VRQRRQHZLOOWU\WRKXUW\RXDQG\RXKDYHDMREDQGPD\EH
                                 LQVKDOODKDDSODFHWRVWD\ZLWKLNKZD

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 2ND\

                          $XWKRU
                            6HQW 87&
                           %RG\ DQGWKHQWKH\ILQG\RXZRUNLQVK DOODK\RXFDQEHDPXMDKLGRU\RX
                                 FDQEHDFRRNRU\RXFDQGRFRPSXWHUZRUNLQVKD DOODKHYHU\WKLQJ
                                 LVRQHVWHSDWDWLPH

                          $XWKRU
                            6HQW 87&
                           %RG\ L PDWUXFNGULYHUDQG,NQRZ,FDQKHOSP\0XMDKLGHHQEURWKHUV
                                 ZKRGRQ WVSHDNWKHODQJXDJH,FDQWUDQVODWHIRUWKHPLQVKD DOODK

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ ,VSHDNNL]LJLXDVRPD\EH,FDQEHDWUDQVLODWHU

                          $XWKRU
                            6HQW 87&
                           %RG\ LQVKD DOODK\HVWKDW VZKDW,PHDQVHOO\RXUVHOIDNKLVR\RXFDQEH
                                 RIXVHWRWKH8PPDKLQVKD DOODK

                          $XWKRU
                            6HQW 87&
                           %RG\ ,ZLOOVWD\XSDOOQLJKWWRGD\LQVKD DOODK,ZLOOJHWWKHFDOOWRGD\IRU
                                 WKHWD]NLDDQG,ZLOOPHQWLRQ,KDYHDQDNKZKRVSHDNVNL]LJLXDZKR
                                 ZDQWVWRFRPH

                          $XWKRU
                            6HQW 87&
                           %RG\ NKLGRQ WPHQWLRQWKLVWRDQ\RQHDWDOODNKLSOHDVHZHGRQ WZDQW
                                 SUREOHPVMD]DNDNKD\UDQ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ %URWKLVLVEHWZHHQXQPH

                          $XWKRU
                            6HQW 87&
                           %RG\ MD]DNDNKD\UDQ

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ 1RRQHHOVH

                          $XWKRU 0RKDPXG$0XVD 
                            6HQW 87&
                           %RG\ :DOODKXDODPDQDTXOOXZDNHHO

                          $XWKRU
                            6HQW 87&
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2147 Filed 08/05/21 Page 31 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                  Sentencing Exhibit 9
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2148 Filed 08/05/21 Page 32 of 45




                                                                          GOVERNMENT
                                                                            EXHIBIT

                                                                          Sent. Ex. 9
                                                                         1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2149 Filed 08/05/21 Page 33 of 45
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2150 Filed 08/05/21 Page 34 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                Sentencing Exhibit 10
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2151 Filed 08/05/21 Page 35 of 45




                                                                         GOVERNMENT
                                                                           EXHIBIT

                                                                        Sent. Ex. 10
                                                                        1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2152 Filed 08/05/21 Page 36 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                Sentencing Exhibit 11
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2153 Filed 08/05/21 Page 37 of 45
                           Facebook Business Record                               Page 117

                          $XWKRU

                           6HQW 87&
                                      87&
                           %RG\ QRZLWKEDE\DQGZLIH

                          $XWKRU
                            6HQW 87&
                           %RG\ +RZFRPH\RXGHFLGHWRJHWPDUULHGDQG\RXZDQWHGWRPDNH
                                 KLMUD"VLQFHQRZLW VPXFKKDUGHURQ\RX$NKL

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ 7KDW૷VWKHRQO\WKLQJVWRSSLQJPHIURPPDNLQJ+LMUDDQGFRPLQJ
                                 WKHUHULJKWQRZ

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ ,Q-XQH

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ ,JRWPDUULHGODVWVXPPHU

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ +DKD\HVDNKL

                          $XWKRU
                            6HQW 87&
                           %RG\ 0DVKD $//$K\RXDUHQHZDWWKLV=DZDMWKLQJ+D"

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ -XVWDZLIHDQGEDE\FRPLQJLQVKDD$OODK

                          $XWKRU
                            6HQW 87&
                           %RG\ :DOODKL"+RZVR"

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ ,ZDVVXSSRUWLQJGRZODLQP\IDPLO\EHIRUHDQ\RQHGLG

                          $XWKRU
                            6HQW 87&
                           %RG\ :KHQ\RXVD\\RXKDYHIDPLO\GR\RXPHDQZLIHDQGFKLOGUHQ"RU
                                 SDUHQWV"

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ 2K\HVDNKLDVN$EX$OLDOPXKDMLU

                          $XWKRU
                            6HQW 87&
                           %RG\ <RXU9LGHRRI$PLU$O0X PLQHHQ6KD\NK$EX%DNU$O%DJKGDG\
                                 VKRZWKDW\RXKDYHDIXOOXQGHUVWDQGLQJRI'DZODK

                          $XWKRU $EX2VDPD 
                            6HQW 87&                                 GOVERNMENT
                                                                                           EXHIBIT

                                                                                        Sent. Ex. 11
                                                                                        1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2154 Filed 08/05/21 Page 38 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                Sentencing Exhibit 12
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2155 Filed 08/05/21 Page 39 of 45
                           Facebook Business Record                                      Page 109

                                                             3KRWR,G
                                                                         




                          $XWKRU
                            6HQW 87&
                           %RG\ 6DLGZKDW$NKL"

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ ,QHYHUVDLGWKDWDNKL

                          $XWKRU
                            6HQW 87&
                           %RG\ :KDW\RXPHDQ"VRUU\,JRWDOLWWOHEXV\DNKL

                          $XWKRU
                            6HQW 87&
                           %RG\ KRZ"

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ %URWKHU,MXVWZDQW,VODPWRZLQ,ZDQWWRNLOONXIIDU

                          $XWKRU
                            6HQW 87&
                           %RG\ ,IHHOWKDWGHHSLQ\RXUKHDUW\RXDUHEXUQLQJIRU-LKDGIH6DEHHO
                                 $//$+EXW\RXUVLWXDWLRQLVKROGLQJ\RXEDFN

                          $XWKRU
                            6HQW 87&
                           %RG\ $OK0GXOH$//$+WKDW$//$+KDVEOHVVHGWKLV8PPDKZLWK
                                 -XQGX$//$+LQ'DU$O.XIU

                          $XWKRU
                            6HQW 87&
                           %RG\ <RXPD\ZDQWWRVSHDNWRKLPDQGVHHLI\RXFDQKHOSKLPDQGOHW
                                 PHNQRZLI\RXDUH

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ $VIDUDV,NQRZLW૷VRQO\XVWKUHHDNKL

                          $XWKRU
                            6HQW 87&
                           %RG\ +HLVJRLQJWRZDLWEXWKHLVVXSSRUWLQJWKHFDXVHRIWKH'DZODKLQ
                                 RWKHUZD\VZKLFK,FDQQRWGLVFXVV

                          $XWKRU
                            6HQW 87&
                           %RG\ 'R\RXNQRZRIDQ\RQHHOVHWKDWVXSSRUW'DZODKPD\EH\RXDQG
                                 PHFDQKHOSJHWWKHLU%D\DKDQGWKH\FDQFRPHZLWK$.KL$OL
                                 $OPXKDMLU

                          $XWKRU $EX2VDPD                                    GOVERNMENT
                                                                                                EXHIBIT

                                                                                             Sent. Ex. 12
                                                                                             1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2156 Filed 08/05/21 Page 40 of 45
                           Facebook Business Record                                Page 110

                            6HQW
                                87&
                           %RG\ ,VKHPDNLQJ+LMUD

                          $XWKRU
                                             &
                            6HQW 87&
                           %RG\ DQG,GLGKDYHORQJWDONZLWKKLP

                          $XWKRU
                            6HQW 87&
                           %RG\ +HLVDPDQRI+DTDQG$]HHPDK

                          $XWKRU
                            6HQW 87&
                           %RG\ <HV,GLG

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ 'LGXJHWKLVED\DK

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ +LVQDPHLV0RKDPHG

                          $XWKRU
                            6HQW 87&
                           %RG\ <HV,UHPHPEHU$NKL$O0XKDMLUPHQWLRQHGWKDW\RXDUHWKHRQH
                                 ZKRFRQYLQFHGWKHPWKH'DZODKZDVRQ+DT

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ ,WKLQNKHDOUHDG\JDYHED\DKWRX

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ $NKLLW૷VEURWKHU$OLDOPXKDMLUDQGP\FRXVLQ

                          $XWKRU
                            6HQW 87&
                           %RG\ DUHWKH\ZLOOLQJWRPDNH-LKDGRUFRPHWR+LMUD"

                          $XWKRUU
                                                 &
                            6HQW 87&
                           %RG\ 0DVKD$//$+

                          $XWKRU
                            6HQW 87&
                           %RG\ :KDWFDQ\RXGRIRU'DZODKIURPGDUDONXIUZKHUH\RXFDQVWLOOEH
                                 ZLWK\RXUIDPLO\XQWLO\RXDUHKHUHZLWKXV

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ ,RQO\NQRZWRSHRSOHKHUHLQ0LFKLJDQZKRVXSSRUW'DZODKZLWK
                                 PH

                          $XWKRU $EX2VDPD 
                            6HQW 87&
                           %RG\ +RZGR,GRWKDW
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2157 Filed 08/05/21 Page 41 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                Sentencing Exhibit 13
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2158 Filed 08/05/21 Page 42 of 45
                           Facebook Business Record                                Page 143

                            %RG\
                                   7DEDUDND$OODK

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ +LVIURP1LJHULD

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ +LVQDPHLV$EXNKDZODKDQGLQVKDD$OODKKHPLJKWJLYHED\DK
                                 VRRQ

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ :KREHOLHYHVGRZODKLVRQDO+DTT

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ ,MXVWZDQWHGWROHW\RXNQRZDKHDGRIWLPHWKLVWLPHWKDW,ૻP
                                 WDONLQJWRDQRWKHUEURWKHUIURPIDFHERRN

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ ,ૻPGRLQJJRRGDNKL$OKDPGXOLOODK

                          $XWKRU
                            6HQW 87&
                           %RG\ .D\ID$OKDO

                          $XWKRU
                            6HQW 87&
                           %RG\ :DOD\NRP
                                 $VVDODPDNKL

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ $VVVDODPXDOD\NXPDNKLILOODK

                          $XWKRU
                            6HQW 87&
                           %RG\ $OKDPGXOH$//$+

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ :DOD\NXPXVVDODPZDUDKPDWXOODKLZDEDUDNDWXK\HVDNKLWKH\
                                 VSRNH

                          $XWKRU
                            6HQW 87&
                           %RG\ $NKLGLG\RXUZLIHUHDFKRXWWRWKHVLVWHU"

                          $XWKRU
                            6HQW       87&
                                 87&
                           %RG\ $VVDODPX$OD\NRPZD5DKPDWX$//$+LZD%DUDNDWXK$NKL

                          $XWKRU
                            6HQW 87&
                           %RG\ 7DEDUDND$//$+WKDWૻVJRRGQHZV
                                                                                            GOVERNMENT
                                                                                              EXHIBIT

                                                                                          Sent. Ex. 13
                                                                                          1:19-CR-00025-3-RJJ
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2159 Filed 08/05/21 Page 43 of 45
                           Facebook Business Record                                    Page 144

                          $XWKRU
                                 $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                            %RG\ $OODKXPDDPHHQ\HVZHWDONHGDQGDJUHHGWROHDYHWRJHWKHU

                          $XWKRU
                            6HQW 87&
                           %RG\ 0D\$OODKDFFHSWKLVJRRGGHHG

                          $XWKRU
                            6HQW 87&
                           %RG\ 1DDPKLVNXQ\DLV6DODP0XMDKLG

                          $XWKRU
                            6HQW 87&
                           %RG\ ,ૻP,FRUUHFW

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ 7KDWૻVP\EURWKHU,QODZ

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ 2KRND\

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ $NKL6DODP0XMDKLG,EHOLHYHKLVUHDOQDPHLV0RKDPHG+DML+H
                                 KHOSHG$OLDOPXKDMLUZLWKPRQH\WRR$NKLKHVDLGKHZLOO,QVKD$OODK
                                 PDNH+LMUDZLWK\RXDQGKLPWRJHWKHU

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ :KRZKRVHDNKLVDODP

                          $XWKRU
                            6HQW 87&
                           %RG\ ,WROGKLPWRRWRWHOO\RXWREHSDWLHQWZLWKWKH0XMDKLGDVLVWHU

                          $XWKRU
                            6HQW 87&
                           %RG\ $NKL6DODP0XMDKLGVDLG\RXDQGKLPZLOOPDNH+LMUDWRJHWKHU

                          $XWKRU
                            6HQW 87&
                           %RG\ ,LQIRUPHGKHUKXVEDQGHDUOLHU

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ 1RSUREOHP

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ ,QVKDOODKDNKLEHSDWLHQW,WKLQNVKHLVVOHHSLQJLWૻVVL[WKLUW\LQWKH
                                 PRUQLQJKHUHLQVKD$OODKVKHZLOO

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ 6KHૻVVWLOOZDLWLQJIRUKHUWRUHSO\WRKHUPHVVDJH
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2160 Filed 08/05/21 Page 44 of 45




      United States v. Mohamud Muse
               1:19-CR-25-3

                Sentencing Exhibit 14
Case 1:19-cr-00025-RJJ ECF No. 217-1, PageID.2161 Filed 08/05/21 Page 45 of 45
                           Facebook Business Record                                    Page 142

                            6HQW
                                 87&
                            %RG\ ,MXVWPHWKLPWRGD\RQOLQHEXW,ૻOONHHSWDONLQJWRKLPWLOO,ૻPVXUH
                                 KHVDLGEXWKHNQRZVDORWDERXWGRZODK

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ +LVQRWDPXQDILTDNKL

                          $XWKRU
                            6HQW 87&
                           %RG\ $UH\RXVXUHKHLVQRWPXQDILT"

                          $XWKRU
                            6HQW 87&
                           %RG\ +RZGLG\RXPHHWKLP

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ 2UVKRXOGKHJLYHED\DKILUVW

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ %XWDNKLLVLWRND\LI,WHOOWKHEURWKHUWRDGGXRQWKHERRN

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ $OODKXPDDPHHQ

                          $XWKRU
                                       87&
                            6HQW 87&
                           %RG\ 0D\$OODKJLYHKHUKLGD\DK

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ $OODKZLOOJLYHPHEHWWHU

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ $QG,GRQૻWKDYHWLPHIRUWKDWૻV

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ 6KHNHHSVIOLSIORSSLQJRQPH

                          $XWKRU $EX0XVDE$O0XKDMLU 
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                           %RG\ 6KHૻVVFDUHGDNKL

                          $XWKRU $EX0XVDE$O0XKDMLU 
                            6HQW 87&
                           %RG\ $NKL,PLJKWKDYHWROHDYHP\ZLIHEHKLQG

                          $XWKRU
                            6HQW 87&
                           %RG\ $NKLZKDWKDSSHQHGZLWKWKHVLVWHUDQG\RXUZLIH"

                          $XWKRU
                            6HQW 87&                                         GOVERNMENT
                                                                                                   EXHIBIT

                                                                                              Sent. Ex. 14
                                                                                              1:19-CR-00025-3-RJJ
